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12   [Additional Counsel Listed on Next Page]
13                               UNITED STATES DISTRICT COURT
14                              NORTHERN DISTRICT OF CALIFORNIA
15                                   SAN FRANCISCO DIVISION
16   NATIONAL TPS ALLIANCE, MARIELA                 Case No. 3:25-cv-01766-EMC
     GONZÁLEZ, FREDDY JOSE ARAPE RIVAS,
17   M.H., CECILIA DANIELA GONZÁLEZ                 PLAINTIFFS’ NOTICE OF ERRATA AND
     HERRERA, ALBA CECILIA PURICA                   CORRECTED DECLARATION OF
18   HERNÁNDEZ, E.R., and HENDRINA VIVAS            EMILOU MACLEAN IN SUPPORT OF
     CASTILLO,                                      PLAINTIFFS’ MOTION TO POSTPONE
19                                                  EFFECTIVE DATE OF AGENCY ACTION
                  Plaintiffs,
20                                                  Assigned to: Hon. Edward M. Chen
           vs.
21                                                  Date: March 24, 2025
     KRISTI NOEM, in her official capacity as       Time: 9:00 a.m.
22   Secretary of Homeland Security, UNITED         Place: Courtroom 5, 17th Floor
     STATES DEPARTMENT OF HOMELAND
23   SECURITY, and UNITED STATES OF                 Complaint filed: February 19, 2025
     AMERICA,
24
                  Defendants.
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 1          PLEASE TAKE NOTICE that Plaintiffs hereby respectfully attach as Exhibit A the
 2   Corrected Declaration of Emilou Maclean in Support of Plaintiffs’ Motion to Postpone Effective
 3   Date of Agency Action (replaces Dkt. 37), which corrects typographical errors and the following:
 4          •       The discussion of Exhibit 6 now includes the correct handle from which Secretary
 5   Kristi Noem submitted a particular social media post (@Sec_Noem).
 6          •       A quotation mark has been moved in the discussion of Exhibit 7 because President
 7   Trump said “[t]hey’re” to refer to illegal immigrants.
 8          •       The discussion of Exhibit 9 has been corrected to note that President Trump said
 9   “Every day, Americans” rather than “[E]veryday Americans” and remove a reference to a
10   statement associated with Exhibit 11.
11          •       The discussion of Exhibit 12 has been updated to reflect the order in which Secretary
12   Noem made certain statements.
13          •       The discussions of Exhibits 13, 14, 15, 23, and 32 have been corrected to include
14   exact quotations (e.g., “we’re,” not “we are”; “in” a direction rather than “and” a direction), and the
15   discussion of Exhibit 23 reflects that a 2024 review of a state and federal legal database found no
16   “US criminal cases mentioning Tren de Aragua” except “[t]wo recent murders with tenuous links to
17   Tren de Aragua” (which lacked “any apparent connection to gang activities”).
18
     Date: March 3, 2025                                Respectfully submitted,
19
                                                        ACLU FOUNDATION
20                                                      OF NORTHERN CALIFORNIA
21                                                       /s/ Emilou MacLean
                                                        Emilou MacLean
22                                                      Michelle (Minju) Y. Cho
23                                                      Ahilan T. Arulanantham
                                                        Stephany Martinez Tiffer
24                                                      CENTER FOR IMMIGRATION LAW AND
                                                        POLICY, UCLA SCHOOL OF LAW
25
                                                        Eva L. Bitran
26                                                      ACLU FOUNDATION
                                                        OF SOUTHERN CALIFORNIA
27
                                                        Jessica Karp Bansal
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 3                                         Attorneys for Plaintiffs
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 1                                     CERTIFICATE OF SERVICE
 2          I hereby certify that on March 3, 2025, I caused the foregoing to be electronically filed with
 3   the Clerk of Court using the CM/ECF system, which will then send a notification of such filing
 4   (NEF) to all counsel of record.
 5
                                                         ACLU FOUNDATION
 6                                                       OF NORTHERN CALIFORNIA
 7
                                                          /s/ Emilou MacLean
 8                                                       Emilou MacLean
                                                         Michelle (Minju) Y. Cho
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